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14
15                                  UNITED STATES DISTRICT COURT

16                                CENTRAL DISTRICT OF CALIFORNIA

17                                                         Case No. 2:18-cv-01469-AB-RAO
      NICKY RIVERA, BALMORE
18    PRUDENCIO, AND MICHELLE
      QUINTERO, individually on behalf of                  Assigned to: Hon. Andre Birotte, Jr.
19    themselves and all others similarly                  MEMORANDUM OF POINTS AND
      situated, and John Does (1-100) on behalf            AUTHORITIES IN SUPPORT OF
20    of themselves and all others similarly               DEFENDANT MIDWAY
21    situated,                                            IMPORTING, INC.’S MOTION TO
                                                           DISMISS PLAINTIFFS’ FIRST
22                        Plaintiffs,                      AMENDED COMPLAINT

23                vs.                                      [Notice of Motion and Motion, Request
                                                           for Judicial Notice, and [Proposed] Order
24    MIDWAY IMPORTING, INC.,                              filed Concurrently]

25                        Defendant.                       Date:        July 6, 2018
                                                           Time:        10:00 AM
26                                                         Ctrm:        7B

27                                                         Complaint Filed: February 22, 2018

28

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      230068359
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  1                                      INTRODUCTION
  2         Plaintiffs Nicky Rivera, Balmore Prudencio, and Michelle Quintero bring this
  3   putative class action alleging that they were deceived by the “natural soap” labeling
  4   on four Grisi bar soap products (the “Grisi Soap Products”) because each one
  5   allegedly contains one to three “synthetic” ingredients. In an attempted end-run
  6   around the strictures of the Hague Convention, Plaintiffs did not file this action
  7   against Grisi, the Mexican company that manufactures, labels, and markets the Grisi
  8   Soap Products. Instead, Plaintiffs bring this action against sole defendant Midway
  9   Importing, Inc. (“Midway”), a Texas importer and distributor that had nothing
10    whatsoever to do with the formulation, labeling, or marketing of the Grisi Soap
11    Products.
12          This is not Plaintiffs’ only attempt at circumventing procedural requirements.
13    New York Plaintiff Nicky Rivera has already filed and dismissed a nearly identical
14    complaint in New York district court, which he later refiled in this instant action,
15    having picked up California Plaintiffs Balmore Prudencio and Michelle Quintero
16    along the way. Plaintiffs then filed an amended complaint in this action, which is the
17    subject of this current motion. But despite Plaintiffs’ many bites at the apple,
18    Plaintiffs’ First Amended Complaint is fatally deficient in many respects, and should
19    be dismissed.
20          First, Plaintiffs have failed to establish Article III standing. Plaintiffs allege
21    that they purchased only two of the identified products, and therefore lack standing as
22    to the two products they did not purchase. Plaintiffs also have failed to establish
23    standing as to their claim regarding injunctive relief, because now that they are aware
24    of the alleged deception, Plaintiffs cannot plausibly allege that they will be deceived
25    again in the future, particularly because the ingredients about which they complain are
26    clearly listed on the label. Indeed, Plaintiffs have made clear that they would not
27    consider purchasing the Grisi Soap Products unless and until such products are
28    reformulated without the offending “synthetic” ingredients. Finally, in accord with
                                              1
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  1   this Court’s decision in Harris v. CVS, Plaintiffs have failed to establish standing to
  2   sue under the laws of states where they do not reside and did not purchase the
  3   product(s) at issue.
  4         Second, claims brought by non-California plaintiffs, including New York
  5   Plaintiff Nick Rivera, fail because this Court lacks personal jurisdiction to adjudicate
  6   those claims. Midway is both incorporated and has its principal place of business in
  7   Texas. There is no general jurisdiction over Midway here. Plaintiff Rivera has
  8   wholly failed to allege any facts to support specific jurisdiction over Midway in
  9   California for the purchase of Grisi Soap Products outside of California by non-
 10   California residents.
 11         Third, Plaintiffs’ California and New York consumer protection claims fail
 12   because Plaintiffs have failed to plausibly allege that a reasonable consumer would
 13   read the term “natural” on the label to mean that the products do not contain any
 14   “synthetic” ingredients whatsoever—despite the fact that the labels nowhere claim
 15   that the Grisi Soap Products are “all natural” or “100%” natural. Indeed, such a claim
 16   is particularly unreasonable where, as here, the “synthetic” ingredients about which
 17   Plaintiffs complain are clearly and prominently disclosed on the label in English and
 18   Spanish. Plaintiffs’ CLRA and UCL claims also fail because Plaintiffs have not met
 19   their F.R.C.P. 9(b) pleading burden. To wit, Plaintiffs have failed to plead: the
 20   specific dates on which they purchased the products; the price of the products they
 21   purchased and the calculation of the “price premium” they allege; how they came to
 22   “belie[ve]” that natural products, including the Grisi Soap Products, are “safer and
 23   healthier” than products lacking a “natural” label; what safety and health benefits they
 24   expected to receive from the product, and that they did not in fact receive those
 25   benefits; and finally, what Midway, an importer and distributor who did not
 26   manufacture, label, or directly sell the product, had to do with any of this.
 27         Fourth, Plaintiffs’ express warranty claim fails under California law because
 28   the ingredients were disclosed to Plaintiffs in the ingredient list, and under New York
                                                2
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  1   law because Midway and Plaintiffs lack privity.
  2         Fifth, Plaintiffs’ Magnuson Moss Warranty Act claim fails because Plaintiffs
  3   have not pled that they meet the requirements of the act (100 named plaintiffs,
  4   minimum $25.00 individual claims, and a minimum $5.00 product cost), and because
  5   the term “natural” does not constitute a warranty under the MMWA.
  6         Sixth, Plaintiffs implied warranty of merchantability claim fails under
  7   California and New York law because Midway and Plaintiffs are not in privity and
  8   because Plaintiffs have not (and cannot) plead that the Grisi Soap Products were not
  9   merchantable for their intended use as soap.
 10         Finally, if the Court does not dismiss this action for the reasons set forth above,
 11   it should alternatively stay the proceeding in light of the FDA’s imminent guidance
 12   regarding the use of the word “natural” on product labeling. Regulating the consistent
 13   use of such a definition falls squarely within the primary jurisdiction of the FDA.
 14   Staying the case will allow the FDA to exercise its specialized knowledge and will
 15   prevent inconsistent rulings. Further, in light of the fact that guidance from the FDA
 16   is now imminent, staying the proceeding will only serve to promote judicial efficacy
 17   and preserve party resources.
 18                                      BACKGROUND
 19         This case involves four Grisi Soap Products: (1) Grisi “Regenerative” Aloe
 20   Vera Soap; (2) Grisi “Balance” Oat Soap; (3) Grisi “Lightening” Mother of Pearl
 21   Soap; and (4) Grisi “Moisturizer” Donkey’s Milk Soap. FAC ¶ 1. The bar soaps are
 22   packaged in boxes. The type of soap is indicated on the front of the box; the statement
 23   “Natural Soap” is located in the left corner; and the ingredients are clearly disclosed in
 24   both English and Spanish in a prominent, “all caps” ingredient list on the side of the
 25   box. See Request for Judicial Notice (“RJN”) at Exs. A-D. Importantly, nowhere on
 26   the soap’s packaging is there a claim that the products are “all natural” or “100%
 27
 28
                                                3
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  1   natural,” nor is there any statement that the product is free of synthetic ingredients.
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            Plaintiffs nevertheless allege that calling something “natural” means the exact
 18
      same thing as “all natural” or “100% natural” (thereby rendering such quantifiers
 19
      meaningless), and argue that the bare statement “natural soap” is a misrepresentation
 20
      because the Grisi Soap Products, which contain between 13-17 ingredients, also
 21
      allegedly contain anywhere from one to three “synthetic” ingredients. See FAC ¶¶ 2,
 22
      18-20. Plaintiffs allege this deception despite the ingredient list on each product
 23
      disclosing in clear and legible type precisely the ingredients that Plaintiffs allege are
 24
      “synthetic.” See RJN at Exs. A-D.
 25
            Plaintiffs further allege that, had they known about the allegedly “synthetic”
 26
      ingredients, they would not have purchased the products nor paid a “premium” price
 27
      for them. See FAC ¶¶ 27, 35.
 28
                                                 4
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  1         Plaintiffs assert nine causes of action: violations of California’s Consumer
  2   Legal Remedies Act, see Cal. Civ. Code § 1750, et seq. (CLRA) and Unfair
  3   Competition Law, Cal. Bus. & Prof. Code § 17200 (UCL), both on behalf of a
  4   putative “California Subclass” (Counts 1-2); violations of New York’s General
  5   Business Laws §§ 349, 350, and 350-a(1), on behalf of a putative “New York
  6   Subclass” (Counts 3-5); violations of the express warranty and consumer protection
  7   statutes of 48 other states and the District of Columbia (Counts 6 and 8); violations of
  8   the Magnuson Moss Warranty Act, 15 U.S.C. § 2301, et seq. (Count 7); and a
  9   common law claim for breach of the implied warranty of merchantability (Count 9).
 10   For the following reasons, these claims fail and the FAC must be dismissed.
 11                                          ARGUMENT
 12   I.    The FAC Must Be Dismissed for Lack of Jurisdiction
 13         A.     Subject Matter Jurisdiction Under FRCP 12(b)(1)
 14         “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life
 15   Ins. Co., 511 U.S. 375, 377 (1994). “Standing is a jurisdictional element that must be
 16   satisfied prior to class certification.” Nelsen v. King Cnty., 895 F.2d 1248, 1249-50
 17   (9th Cir. 1990) (internal quotations omitted). “If the litigant fails to establish
 18   standing, he may not ‘seek relief on behalf of himself or any other member of the
 19   class.’” Id. at 1250 (quoting O’Shea v. Littleton, 414 U.S. 488, 494 (1974)). This is
 20   because “[t]he prudential limitations on federal court jurisdiction require” that a
 21   plaintiff “assert his own legal rights and interests, not those of others . . . .” Miller v.
 22   Ghirardelli Chocolate Co., 912 F. Supp. 2d 861, 868 (N.D. Cal. 2012).
 23         “[A] plaintiff must show (1) [she] has suffered an ‘injury in fact’ that is
 24   (a) concrete and particularized and (b) actual or imminent, not conjectural or
 25   hypothetical; (2) the injury is fairly traceable to the challenged action of the
 26   defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be
 27   redressed by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.
 28   (TOC), Inc., 528 U.S. 167, 180-81 (2000). “The party invoking federal jurisdiction
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  1   bears the burden of establishing these elements.” Lujan v. Defenders of Wildlife, 504
  2   U.S. 555, 561 (1992); see also Kane v. Chobani, Inc., No. 12-CV-02425-LHK, 2013
  3   WL 5289253, at *4 (N.D. Cal. Sept. 19, 2013) (“Once a party has moved to dismiss
  4   for lack of subject matter jurisdiction under Rule 12(b)(1), the opposing party bears
  5   the burden of establishing the court’s jurisdiction . . . .”). “A motion to dismiss for
  6   lack of subject matter jurisdiction will be granted if the complaint on its face fails to
  7   allege facts sufficient to establish subject matter jurisdiction.” Herskowitz v. Apple
  8   Inc., 940 F. Supp. 2d 1131, 1138 (N.D. Cal. 2013).
  9         B.     Personal Jurisdiction Under FRCP 12(b)(2)
 10         To determine whether personal jurisdiction exists over a nonresident, a district
 11   court must apply the law of the state in which it sits when there is no applicable
 12   federal statute governing personal jurisdiction. Panavision Int’l, L.P. v. Toeppen, 141
 13   F.3d 1316, 1320 (9th Cir. 1998). In California, district courts may exercise personal
 14   jurisdiction over a nonresident defendant to the extent permitted by the Due Process
 15   Clause of the Constitution. Cal. Code Civ. Proc. § 410.10. The Fourteenth
 16   Amendment’s Due Process Clause requires a defendant to have “certain minimum
 17   contacts” with the forum such that the maintenance of the suit in that forum “does not
 18   offend traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. State
 19   of Washington, 326 U.S. 310, 316 (1945) (internal quotations omitted). Plaintiffs bear
 20   the burden of proving that jurisdiction exists. Flynt Distrib. Co. v. Harvey, 734 F.2d
 21   1389, 1392 (9th Cir. 1984).
 22         C.     Plaintiffs Lack Standing for Grisi Soap Products They Did Not
                   Purchase
 23
 24         Plaintiffs must plead and prove both (i) Article III standing and (ii) actual
 25   reliance and injury for standing under the UCL and CLRA. See Bronson v. J&J, Inc.,
 26   No. 12-cv-4184 CRB, 2013 WL 1629191, at *2-3 (N.D. Cal. Apr. 16, 2013) (plaintiffs
 27   lacked standing to pursue claims based on advertising upon which they did not rely);
 28   Route v. Mead Johnson Nutrition Co., No. 12-cv-7350-GW(JEMx), 2013 WL 658251,
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  1   at *3 (C.D. Cal. Feb. 21, 2013) (dismissing claims based on products that plaintiff did
  2   not purchase); Cattie v. Wal-Mart Stores, Inc., 504 F. Supp. 2d 939, 948-49 (S.D. Cal.
  3   2007) (same); Laster v. T-Mobile USA, Inc., 407 F. Supp. 2d 1181, 1194 (S.D. Cal.
  4   2005) (dismissing UCL claims for lack of standing where “none of the named
  5   Plaintiffs allege that they saw, read, or in any way relied on the advertisements; nor []
  6   allege[d] that they entered into the transaction as a result of those advertisements”).
  7   Further, Plaintiffs must allege actual reliance on the particular statements they are
  8   challenging. Cattie, 504 F. Supp. 2d at 946; Laster, 407 F. Supp. 2d at 1194.
  9         Courts in the Ninth Circuit routinely hold that plaintiffs lack standing to
 10   proceed as to products they did not purchase, particularly products containing
 11   different formulations, and, as here, claims relating to differing formulations. See,
 12   e.g., Johns v. Bayer Corp., No. 09CV1935DMS (JMA), 2010 WL 476688, at *5 (S.D.
 13   Cal. Feb. 9, 2010) (in a putative class action, plaintiffs “cannot expand the scope of
 14   [their] claims to include a product [they] did not purchase or advertisements relating
 15   to a product that [they] did not rely upon”); Miller v. Ghirardelli Chocolate Co., 912
 16   F. Supp. 2d 861, 869-71 (N.D. Cal. 2012) (noting that, “[w]here the alleged
 17   misrepresentations or accused products are dissimilar, courts tend to dismiss claims to
 18   the extent they are based on products not purchased,” and dismissing claims based on
 19   misleading “white chocolate” representations where plaintiff purchased chocolate
 20   chips, because the products were inherently different); Carrea v. Dreyer’s Grand Ice
 21   Cream, Inc., No. 10-1044-JSW, 2011 WL 159380, at *3 (N.D. Cal. Jan. 10, 2011)
 22   (dismissing claims based on an ice cream product not purchased by named plaintiff
 23   even though it contained one of the same alleged misrepresentations as another ice
 24   cream product purchased by plaintiff); Dysthe v. Basic Research LLC, No. CV 09-
 25   8013 AG(SSx), 2011 WL 5868307, at *4-5 (C.D. Cal. June 13, 2011) (finding that
 26   plaintiff lacked standing to sue as to products not purchased where the two weight loss
 27   products contained different formulations, touted different non-weight loss benefits,
 28   and had different colored packaging); Kane v. Chobani, Inc., No. 12-CV-02425-LHK,
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  1   2013 WL 5289253, at *11 (N.D. Cal. Sept. 19, 2013) (dismissing claims as to yogurt
  2   products not purchased because even though the alleged misrepresentations were
  3   similar across all products, plaintiffs failed to adequately allege that the products
  4   themselves were substantially similar).
  5         Here, Plaintiffs challenge the “natural soap” label on four Grisi soap products,
  6   each with their own unique formulations, attributes, and packaging:
  7     • Grisi “Regenerative” Aloe Vera Soap, which contains approximately 15
  8         ingredients, three of which Plaintiffs contend are “synthetic,” the packaging for
  9         which advertises that it “keeps the skin moisturized and fresh” and “helps
 10         sensitive skins which are continuous[ly] sun exposed” (green and white
 11         packaging featuring an illustration of an aloe vera leaf);
 12     • Grisi “Balance” Oat Soap, which contains approximately 14 ingredients, one of
 13         which Plaintiffs contend is “synthetic,” the packaging for which advertises that
 14         it “helps to regulate the oil excess of the skin by revitalizing it gently” (brown
 15         and white packaging featuring illustrations of ears of wheat);
 16     • Grisi “Lightening” Mother of Pearl Soap, which contains approximately 17
 17         ingredients, two of which Plaintiffs contend are “synthetic,” the packaging for
 18         which advertises that it “helps to vanish little dark and age spots” (blue and
 19         white packaging featuring illustrations of a pearl within a clamshell);
 20     • Grisi “Moisturizer” Donkey’s Milk Soap, which contains approximately 13
 21         ingredients, one of which Plaintiffs contend is “synthetic,” the packaging for
 22         which advertises that it is “enriched with milk proteins,” and “nourishes and
 23         smoothes out the skin contributing to its elasticity and vitality” (blue, white, and
 24         brown packaging featuring a donkey’s head with flowers).
 25   See RJN Exs. A-D. These products are inherently dissimilar and Plaintiffs cannot
 26   establish standing as to Grisi Soap Products not purchased, i.e., the Grisi “Balance”
 27   Oat Soap and the Grisi “Moisturizer” Donkey’s Milk Soap. See FAC ¶¶ 8, 10, 12
 28   (alleging purchases of only the Grisi Lightening Mother of Pearl Soap and the Grisi
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  1   Regenerative Aloe Vera Soap); see also Dysthe, 2011 WL 5868307, at *4-5. Thus,
  2   Plaintiffs’ claims relating to the Grisi “Balance” Oat Soap and Grisi “Moisturizer”
  3   Donkey’s Milk Soap should be dismissed for lack of subject matter jurisdiction.
  4          D.     The Court Lacks Jurisdiction over Claims by Non-California
                    Purchasers
  5
  6          Plaintiffs, including Nicky Rivera—who is a resident of New York, FAC
  7   ¶ 12—seek to represent a nationwide class and N.Y. subclass for statutory consumer
  8   protection and warranty claims (Counts Three through Nine), but this Court does not
  9   have personal jurisdiction over Midway for any non-California sales to non-California
 10   residents. Indeed, Plaintiffs’ allegation of personal jurisdiction reads exactly like an
 11   allegation of specific personal jurisdiction that extends no further than California. See
 12   id. ¶ 6 (“This Court has personal jurisdiction over Defendant because Defendant
 13   conducts and transacts business in the State of California, contracts to supply goods
 14   within the state of California, and supplies goods within the State of California.”).
 15   The allegation is insufficient to invoke jurisdiction over Midway for conduct
 16   involving purchases made outside of California by non-California residents.
 17          First, Midway is not subject to general personal jurisdiction in California.
 18   General jurisdiction applies to claims “unrelated to the defendant’s contacts with the
 19   forum state” and exists only in a forum where the defendant is “essentially at home.”
 20   See Daimler AG v. Bauman, 571 U.S. 117, 137-38 & n.19 (2014). A corporate
 21   defendant is “at home” only in the states where it is incorporated or has its principal
 22   place of business. Id. But Midway is incorporated and has its principal place of
 23   business in Texas, and Plaintiffs’ generic allegations that Midway “conducts and
 24   transacts business,” “contracts to supply goods,” and “supplies goods within the State
 25   of California,” FAC ¶ 6, do not establish that Midway is “at home” in California, see
 26   Daimler, 571 U.S. at 139 (no general jurisdiction even when defendant’s sales were
 27   “sizable” in that state).
 28          Second, Plaintiffs have pled no facts to support a claim for specific personal
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  1   jurisdiction over non-California residents’ claims. FAC ¶ 6 (speaking only of
  2   California sales to California consumers). Indeed, Plaintiff Nicky Rivera implicitly
  3   acknowledged that New York is the appropriate forum for the claims related to the
  4   soap he allegedly purchased there, because he initially filed this lawsuit in New York.1
  5   Plaintiffs simply cannot bootstrap alleged California purchases by California residents
  6   into specific personal jurisdiction over non-residents for sales outside California. See,
  7   e.g., Bristol-Myers Squibb Co. v. Super. Ct. of Cal., 137 S. Ct. 1773 (2017). Thus, the
  8   Court should hold that there is no personal jurisdiction with respect to claims by
  9   anyone outside of California, including New York Plaintiff Nicky Rivera.
 10         E.     The California Plaintiffs Lack Standing to Bring Non-California
                   Claims
 11
 12         Plaintiffs, residents of California and New York, purport to bring claims under
 13   the laws of 48 other states and the District of Columbia (Counts Six and Eight). But
 14   this Court, in accord with numerous other courts, has held that named plaintiffs lack
 15   standing to assert claims from states where they do not reside or did not purchase the
 16   product(s) at issue. Harris v. CVS Pharmacy, No. ED CV 13–02329–AB(AGRx),
 17   2015 WL 4694047, at *4-5 (C.D. Cal. Aug. 6, 2015) (collecting cases).
 18         The Harris plaintiff, a California resident, brought a putative class action
 19   alleging CVS violated California and Rhode Island consumer protection laws in
 20   connection with marketing and selling a dietary supplement that plaintiff purchased in
 21   California. Id. at 1, 4. Holding plaintiff lacked standing to bring claims under Rhode
 22   Island law, this Court found plaintiff had failed to allege any “plausible basis for
 23   invoking that foreign law.” Id. at 4 (noting Rhode Island law “is clear that, absent
 24   some indication to the contrary, extraterritorial force cannot be given to a [Rhode
 25
      1
 26     He later dismissed that action after receiving an order from the New York court sua
      sponte granting him leave to file an amended complaint after Midway filed its motion
 27   to dismiss and informing him that “absent special circumstances, no further
      opportunities to amend [would] be granted.” See Order, Rivera v. Midway Importing,
 28   Inc., No. 7:17-cv-03290-VB (S.D.N.Y. June 5, 2017), ECF No. 17.
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  1   Island] statute”) (internal citations omitted). Further, citing the Ninth Circuit’s
  2   decision in Mazza v. Am. Honda Motor, Inc., 666 F.3d 581 (9th Cir. 2012), this Court
  3   held that under standard choice-of-law principles, California (the place of alleged
  4   “wrong”) had the predominant interest in applying its consumer protection statute to
  5   plaintiff’s transaction, which occurred in California. Id. at 593.
  6         So too here. Plaintiffs in this action reside in California and New York and
  7   allege that they purchased their Grisi Soap Products in California and New York,
  8   respectively. They have alleged no plausible basis for invoking laws of any other
  9   state or the District of Columbia, particularly when the alleged “harms” to Plaintiffs
 10   did not occur there. Further, as discussed in Section I.D., supra, this Court also lacks
 11   jurisdiction to hear claims brought by New York Plaintiff Nicky Rivera, and so
 12   Plaintiffs’ New York claims must likewise be dismissed. For these reasons, all of
 13   Plaintiffs’ non-California claims must be dismissed for lack of standing.
 14         F.     Plaintiffs Lack Standing to Seek Prospective Injunctive Relief
 15         “[A] plaintiff must demonstrate standing separately for each form of relief
 16   sought.” Castagnola v. Hewlett-Packard Co., No. C-11-05772 JSW, 2012
 17   WL 2159385, at *5 (N.D. Cal. June 13, 2012) (dismissing claim for injunctive relief).
 18   To establish standing for prospective injunctive relief, a plaintiff must demonstrate
 19   that he or she has suffered or is threatened with a “concrete and particularized” legal
 20   harm coupled with a sufficient likelihood that he or she will again be wronged in a
 21   similar way. Id.; Gasser v. Kiss My Face LLC, No. 17-cv-01675-JSC, 2017 WL
 22   4773426, at *3 (N.D. Cal. Oct. 23, 2017). The plaintiff must establish a “real or
 23   immediate threat” of repeated injury caused by the defendant’s alleged false
 24   advertising. Hodgers-Durgin v. de la Vina, 199 F. 3d 1037, 1042 (9th Cir. 1999). A
 25   plaintiff “cannot rely on the prospect of future injury to unnamed class members if [he
 26   or she] cannot establish [he or she has] standing to seek injunctive relief.”
 27   Castagnola, 2012 WL 2159385, at *5.
 28         Here, Plaintiffs have failed to show that they face a “real or immediate” risk of
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  1   future harm. Even if Midway made misrepresentations about the Grisi Soap Products
  2   (and as a mere importer of the products, it certainly did not), Plaintiffs are now aware
  3   of the “truth” as they see it and cannot allege that they would be fraudulently induced
  4   to purchase the same products again in the future.2 Indeed, Plaintiffs make clear that
  5   they would purchase Grisi Soap Products in the future only “if the ingredients were
  6   changed” to match Plaintiffs’ idea of a “natural” soap product; that is, Plaintiffs have
  7   alleged nothing more than that they might be willing to purchase Grisi Soap Products
  8   not currently in existence, should such a product one day become available on the
  9   market. See FAC ¶ 51. But the injunctive relief that Plaintiffs seek would not require
 10   that the composition of the Grisi Soap Products be changed. Accordingly, Plaintiffs
 11   have not plausibly alleged that they would purchase the same Grisi Soap Products
 12   again, and they therefore lack standing to seek injunctive relief. Gasser, 2017 WL
 13   4773426, at *4. The Court should dismiss Plaintiffs’ injunctive relief claim.
 14   II.   The FAC Fails to State a Claim for “Natural Soap” as False or Misleading
 15         A.     Legal Standard Under FRCP 12(b)(6), 8, and 9(b)
 16         Under Federal Rule of Civil Procedure 12(b)(6), a complaint must allege
 17   “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic
 18   Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The plausibility standard . . . asks for
 19   more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v.
 20   Iqbal, 556 U.S. 662, 678 (2009); see also Twombly, 550 U.S. at 555 (“Factual
 21   allegations must be enough to raise a right to relief above the speculative level.”). The
 22   facts alleged must “allow[] the court to draw the reasonable inference that the
 23   2
        The Ninth Circuit’s decision in Davidson v. Kimberly-Clark, 873 F.3d 1103 (9th Cir.
 24   2017) is inapposite here. In Davidson, the Ninth Circuit held (in what it
      acknowledged was a “close question”) that the plaintiff could seek injunctive relief for
 25   future harm because she “had no way of determining” whether the product’s
 26   “flushable” labels were true. Id. at 1116 (emphasis added). But in this case, Plaintiffs
      can determine whether the products’ labels are “true” simply by looking at the
 27   ingredient list. And now that they know the “truth” about the ingredients about which
      they complain, they cannot claim a risk of future harm from that labeling, which
 28   discloses those very ingredients in all capital letters, in two languages.
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  1   defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. A court must
  2   accept as true all material allegations in the complaint and reasonable inferences to be
  3   drawn from those allegations, but “conclusory allegations of law and unwarranted
  4   inferences are insufficient to defeat a motion to dismiss.” Ove v. Gwinn, 264 F.3d
  5   817, 821 (9th Cir. 2001); see also Iqbal, 556 U.S. at 678 (a pleading is insufficient if it
  6   provides only “labels and conclusions,” “a formulaic recitation of the elements of a
  7   cause of action,” or “naked assertions devoid of further factual enhancement” (internal
  8   quotations and brackets omitted)); Twombly, 550 U.S. at 555 (a court is “not bound to
  9   accept as true a legal conclusion couched as a factual allegation”).
 10         A complaint that sounds in fraud must satisfy Rule 9(b)’s heightened pleading
 11   requirement. See, e.g., Kearns v. Ford Motor Co., 567 F.3d 1120, 1124-25 (9th Cir.
 12   2009) (applying Rule 9(b) to UCL and CLRA claims alleging a “unified course of
 13   fraudulent conduct”); Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.
 14   2003). To satisfy Rule 9(b), Plaintiff must allege “the who, what, when, where, and
 15   how” of the alleged fraud, Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997), and
 16   “set forth an explanation as to why [a] statement or omission complained of was false
 17   and misleading,” In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994)
 18   (en banc), superseded by statute on other grounds as stated in SEC v. Todd, 642 F.3d
 19   1207, 1216 (9th Cir. 2011). “[T]he circumstances constituting the alleged fraud
 20   [must] be specific enough to give defendants notice of the particular misconduct . . .
 21   so that they can defend against the charge and not just deny that they have done
 22   anything wrong.” Vess, 317 F.3d at 1106 (quotations omitted); see Bias v. Wells
 23   Fargo & Co., 942 F. Supp. 2d 915, 932 (N.D. Cal. 2013).
 24         B.     Plaintiffs Have Failed to State a Claim Against Midway
 25         The allegations about Midway in FAC ¶ 14 are naked conclusions. No facts are
 26   alleged for the conclusion Midway “created and/or authorized the false, misleading
 27   and deceptive advertisements, packaging, and labeling for the Products.” Plaintiffs
 28   allege Midway “provides . . . distribution support strategy that includes marketing and
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  1   promotions, direct sales, merchandising, distribution and logistics.” FAC ¶ 16.3 Even
  2   if that were true, and even if Midway performed those services for Grisi (which is not
  3   alleged), none of those services are the gravamen of Plaintiffs’ FAC or even relevant
  4   to the FAC. The only alleged falsity at issue is the word “natural” printed on the
  5   boxes of Grisi soap that were imported by Midway. No other “advertising” is alleged.
  6   Plaintiffs have alleged no factual basis, much less a particularized one, to show that
  7   Midway played any role at all the alleged deception. Midway is nothing more than an
  8   importer and distributor of Grisi products. Moreover, Plaintiffs do not allege that they
  9   purchased the products from Midway (because they allege to have purchased the
 10   products at retail stores), or that Midway was the exclusive Grisi distributor for the
 11   stores where they purchased the products. See FAC ¶¶ 8, 10, 12.
 12            C.     The California and New York Statutory Counts (1-5) Under the
                      CLRA, UCL, and NY GBL §§ 349-350 Fail to State a Claim Under
 13                   FRCP 8
 14            Even if Plaintiffs had alleged labeling activity by Midway, they have not
 15   plausibly alleged how the term “natural” on the Grisi Soap Products is false or
 16   misleading. Under California and New York law, a labeling claim is only actionable
 17   if it is likely to deceive a “reasonable” consumer. See, e.g., Lavie v. Procter &
 18   Gamble Co., 105 Cal. App. 4th 496, 508 (2003); Freeman v. Time, Inc., 68 F.3d 285,
 19   289 (9th Cir. 1995); Tasini v. AOL, Inc., 851 F. Supp. 2d 734, 744 (S.D.N.Y. 2012);
 20   Hill v. Roll Int’l Corp., 195 Cal. App. 4th 1295, 1304 (2011) (under the CLRA, UCL,
 21   and FAL, a plaintiff must show “potential deception of consumers acting reasonably
 22   in the circumstances—not just any consumers”) (emphasis added); Chapman v. Skype
 23   Inc., 220 Cal. App. 4th 217, 226-227 (2013) (applying the same reasonable consumer
 24   standard under the UCL); accord Silva v. Smucker Nat. Foods, Inc., No. 14-cv-6154
 25   (JG)(RML), 2015 WL 5360022, at *9 (E.D.N.Y. Sept. 14, 2015) (“Courts apply an
 26   objective standard in determining whether acts or practices are materially deceptive or
 27
 28   3
          Plaintiffs quote this allegation, but no citation is provided for the quote.
                                                    14
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  1   misleading to ‘a reasonable consumer acting reasonably under the circumstances.’”)
  2   (citation omitted). Such reasonable consumers are not “unwary” or “overly
  3   suspicious,” Hill, 195 Cal. App. 4th at 1304, and “[a] representation does not become
  4   ‘false and deceptive’ merely because it will be unreasonably misunderstood by an
  5   insignificant and unrepresentative segment of the class of persons to whom the
  6   representation is addressed,” Lavie, 105 Cal. App. 4th at 507. Rather, the question is
  7   whether “a significant portion of the . . . targeted consumers, acting reasonably in the
  8   circumstances, could be misled.” Id. at 508. “[T]he primary evidence in a false
  9   advertising case is the advertising itself,” Brockey v. Moore, 107 Cal. App. 4th 86, 100
 10   (2003)—here, the products’ packaging.
 11         Numerous courts have dismissed claims when a product’s label belies any
 12   alleged deception. In Simpson v. Kroger Corp., the court rejected a claim that the
 13   prominent use of the word “BUTTER” on a label could lead a reasonable consumer to
 14   believe that he or she had purchased a product containing only butter. As that court
 15   recognized, it was “plain on both the top and side panels of the tubs in which the
 16   products are sold” that they contained canola or olive oil as well as butter. 219 Cal.
 17   App. 4th 1352, 1372 (2013). In a similar vein, allegedly misleading language on the
 18   label of a vitamin-enriched drink could not support a viable claim because it was not
 19   used “in a vacuum,” and “any ambiguity [about the vitamins in the product] [wa]s
 20   clarified by the detailed information contained in the ingredient list, which explain[ed]
 21   the exact contents.” Hairston v. S. Beach Beverage Co., No. 12-cv-1429-
 22   JFW(DTBx), 2012 WL 1893818, at *4-5 (C.D. Cal. May 18, 2012). Nor could a
 23   reasonable consumer be misled “into believing that Red Stripe is brewed in Jamaica”
 24   despite representations on the label like “Jamaican Style Lager” and “The Taste of
 25   Jamaica,” because the “bottom of the packaging states, ‘Brewed and bottled by Red
 26   Stripe Beer Company Latrobe, PA.’” Dumas v. Diageo PLC, No. 15-cv-1681
 27   BTM(BLM), 2016 WL 1367511, at *3 (S.D. Cal. Apr. 6, 2016). And in Freeman, the
 28   Ninth Circuit affirmed the dismissal of claims about a sweepstakes mailer, even
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  1   though (unlike here) the “qualifying language [was] in small print,” because the
  2   consumer “would be put on notice that [winning the sweepstakes] was not guaranteed
  3   simply by doing sufficient reading to comply with the instructions for entering the
  4   sweepstakes.” 68 F.3d at 289-90. “Any ambiguity . . . [wa]s dispelled by the
  5   promotion as a whole.” Id. at 290.4
  6         Plaintiffs’ claims fail because it is simply “implausible that a reasonable
  7   consumer would look only at the front portion of a label.” Goldman v. Bayer AG, No.
  8   17-cv-0647-PJH, 2017 WL 3168525, at *7 (N.D. Cal. July 26, 2017). When faced
  9   with an ambiguous, undefined term like “natural” (instead of 100% natural or all
 10   natural), a reasonable consumer “concerned about the effects of synthetic and
 11   chemical ingredients in food, cleaning products, bath and beauty products[,] and
 12   everyday household products,” FAC ¶ 17, would turn the label over to determine what
 13   specific “synthetic” ingredients might be included in a product that nowhere claims to
 14   be “all” natural. In this case, that same reasonable consumer would see—in a clear
 15   and simple list (in both English and Spanish)— precisely the “synthetic” ingredients
 16   about which Plaintiffs unreasonably complain. See RJN Exs. A-D. A reasonable
 17   consumer reads, rather than disregards, this information; particularly if the consumer
 18   is making purchasing decisions based on whether a product is natural or not.
 19
      4
 20     See also Workman v. Plum Inc., 141 F. Supp. 3d 1032, 1035 (N.D. Cal. 2015)
      (rejecting claim that pictured items on snack labels were most prominent ingredients
 21   because “[e]very reasonable shopper knows that the devil is in the details… [and] any
      potential ambiguity could be resolved by the back panel of the products, which listed
 22   all ingredients in order of predominance”); Shaker v. Nature’s Path Foods, Inc., No.
 23   13-cv-1138-GW(OPx), 2013 WL 6729802, at *5 (C.D. Cal. Dec. 16, 2013) (rejecting
      “[p]laintiffs’ interpretation of the photograph and selective reading of the labels” on
 24   cereal); Gitson v. Trader Joe’s Co., No. 13-cv-01333-WHO, 2013 WL 5513711, at
      *7-8 (N.D. Cal. Oct. 4, 2013) (“the accused label itself makes it impossible for the
 25   plaintiff to prove that a reasonable consumer is likely to be deceived,” including when
 26   “each product expressly discloses its sugar content”); McKinniss v. Gen. Mills, Inc.,
      No. 07-cv-2521 GAF(FMDx), 2007 WL 4762172, at *4 (C.D. Cal. Sept. 18, 2007)
 27   (rejecting claims that food labels were misleading for using words like “natural fruit
      flavors” and pictures because “any reasonable consumer would be put on notice of the
 28   product’s contents simply by doing sufficient reading of the ingredient list”).
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  1         Drawing on basic common sense, reasonable consumers would recognize that
  2   mass-produced, processed soap products likely have some (if insignificant) synthetic
  3   ingredients. Courts dismiss suits where plaintiff’s interpretation of a labeling claim
  4   defies common sense. See, e.g., Pelayo v. Nestle USA, Inc., 989 F. Supp. 2d 973, 978
  5   (C.D. Cal. 2013) (finding a reasonable consumer would not interpret “natural” to
  6   mean that pasta was “produced or existing in nature” where “they are a product
  7   manufactured in mass . . . and the reasonable consumer is aware that Buitoni pastas
  8   are not springing fully-formed from Ravioli trees and Tortellini bushes”) (internal
  9   citations omitted); Barrett v. Milwaukee Elect. Tool, Inc., No. 14-1804 JAH(DHB),
 10   2016 WL 4595947, at *5 (S.D. Cal. Jan. 26, 2016) (finding 100% handcrafted label on
 11   hammers could not be “reasonably interpreted as meaning literally made by hand”);
 12   accord In re 100% Grated Parmesan Cheese Mktg & Sales Practices Litig., 275 F.
 13   Supp. 3d 910, 923 (N.D. Ill. 2017) (dismissing lawsuit regarding 100% parmesan
 14   cheese claim and noting “[t]he products are packaged and shelf-stable at room
 15   temperature, a quality that reasonable consumers know is not enjoyed by pure
 16   cheese”).
 17         Here, Plaintiffs allege that they were misled because they focused on the word
 18   “natural” in a corner of the packaging and determined that the Grisi Soap Products did
 19   not contain any “synthetic” ingredients. But like the plaintiffs’ claims in Pelayo,
 20   Barrett, and In re 100% Grated Parmesan Cheese, and so many others, Plaintiffs’
 21   claims fail because they utterly defy common sense. No reasonable consumer would
 22   believe that a mass-produced, shelf-stable bar soap that works in various water
 23   hardness conditions was completely free of synthetic ingredients—particularly where,
 24   as here, the products are devoid of any claim that they are “all” or “100% natural.”
 25   For all of these reasons, Plaintiffs’ California and New York consumer protection
 26   claims should be dismissed for failure to state a claim.
 27
 28
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  1         D.     The UCL and CLRA Claims Fail to Satisfy the Heightened Pleading
                   Standards
  2
  3         When a plaintiff alleges fraudulent conduct and relies on such conduct as the
  4   basis for UCL or CLRA claims, the claim is “grounded” in or “sound[s] in fraud”
  5   such that a complaint “must satisfy the particularity requirement of Rule 9(b).” Vess,
  6   317 F.3d at 1103-04; see Kearns v. Ford Motor Co., 567 F.3d 1120, 1125-27 (9th Cir.
  7   2009) (claims under the CLRA and UCL that sound in fraud must satisfy Rule 9(b)’s
  8   heightened pleading requirement); Pirozzi v. Apple Inc., 913 F. Supp. 2d 840, 850
  9   (N.D. Cal. 2012). Plaintiffs’ causes of action under the UCL and CLRA trigger this
 10   requirement. This requires something “more than the neutral facts necessary to
 11   identify the transaction.” Kearns, 567 F.3d at 1124 (internal quotation omitted).
 12   Additionally, because this case involves a “price premium” theory of injury, Plaintiffs
 13   must also allege with particularity how they paid a premium as a result of the alleged
 14   misrepresentation. Bailey v. Kind, LLC, No. 16-168-JLS(DFMx), 2016 WL 3456981,
 15   at *6 (C.D. Cal. June 16, 2016).
 16         Here, Plaintiffs fail to allege at all, let alone with particularity, any labeling
 17   activity by Midway. Moreover, while Plaintiffs allege that the phrase “natural soap”
 18   is misleading because the products contain one to three allegedly “synthetic”
 19   ingredients, Plaintiffs fail to provide any basis for their assertion that the products are
 20   not, in fact, natural. In fact, the Grisi Soap Products contain mostly natural
 21   ingredients, which is consistent with its “natural soap” labeling (which nowhere states
 22   that the product contains all or only natural ingredients).5 Plaintiffs further
 23   conclusorily allege that the “natural” description matters because consumers
 24   “belie[ve]” that natural products are “safer and healthier than alternative products that
 25   5
        The USDA’s sliding scale treatment of “organic” labeling is instructive: “100%
 26   Organic” can be used for products containing 100% organic ingredients, while the
      single word “organic” (without a percentage qualifier) can be used to label any
 27   product containing a minimum of 95% organic ingredients. See Organic Labeling
      Standards, U.S. Dept. Agric., https://www.ams.usda.gov/grades-standards/organic-
 28   labeling-standards (last visited April 15, 2018).
                                                 18
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  1   are not represented as natural.” FAC ¶ 17. But Plaintiffs do not provide any basis for
  2   how that “belief” is reasonable; nor do they plead what safety and health benefits they
  3   expected to receive from the Grisi soap compared to soap not labeled “natural”; nor do
  4   they allege that they did not in fact receive those unnamed benefits.
  5         Additionally, Plaintiffs fail to explain the circumstances surrounding their
  6   purchase of the Grisi Soap Products: specifically, when Plaintiffs purchased the
  7   products and when and how they came to learn of the alleged misrepresentation on the
  8   products’ labels. Plaintiffs fail to allege that they purchased the Grisi Soap Products
  9   for household purposes or that they used the products, thus failing to plead they are
 10   “consumers” under the CLRA.6 Plaintiffs further allege that they paid a “premium”
 11   price as compared to products that were not labeled “natural,” but fail to plead what
 12   they paid for the Grisi Soap Products they purchased or the identity and price for the
 13   allegedly comparable products and the percentage of the alleged price premium. For
 14   all of these reasons, Plaintiffs’ fraud claims should be dismissed.
 15         E.     Plaintiffs’ Express Warranty Claim Fails (Count Six)
 16         Plaintiffs claim for breach of an express warranty, FAC ¶¶ 104-21, fails for the
 17   same reasons Plaintiffs’ statutory claims fail and all claims against Midway fail. The
 18   terms of an express warranty must constitute an “affirmation of fact or promise” or a
 19   “description of the goods.” Weinstat v. Dentsply Int’l, Inc., 180 Cal. App. 4th 1213,
 20   1227 (2010). A representation does not, however, qualify as an express warranty if it
 21   is contradicted by more specific language on the same label. That proposition is
 22   encoded in California law, see Cal. Com. Code §§ 2317, 10215, and reflected in
 23   numerous decisions. See, e.g., Goldman, 2017 WL 3168525, at *9-10; McKinniss v.
 24   Gen. Mills, Inc., No. 07-cv-2521 GAF(FMDx), 2007 WL 4762172, at *5 (C.D. Cal.
 25   Sept. 18, 2007) (“Defendant truthfully disclosed the ingredients in each of these five
 26   6
       This omission is particularly curious in light of Plaintiffs’ failure to allege even the
 27   year in which Balmore Prudencio purchased the products, suggesting that he may
      have purchased the products after Plaintiff Nicky Rivera filed and dismissed the New
 28   York lawsuit in an attempt to manufacture standing on behalf of a California class.
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  1   products but Plaintiffs chose not to read them. Plaintiffs’ selective reading or alleged
  2   misunderstanding cannot give rise to an express warranty claim.”).
  3         Here, the products at issue are each labeled with the phrase “Natural Soap.”
  4   Each product’s packaging lists the ingredients contained in the soap in both English
  5   and Spanish. The products do not represent that the soap is made of “100%” or “all”
  6   natural products, or otherwise quantifiably represent there are only natural ingredients
  7   in the products (rather than the products simply contain natural ingredients). A
  8   reasonable consumer motivated to purchase all or 100% natural soap would
  9   investigate further by reviewing the ingredients in the soap. See RJN Exs. A-D. The
 10   specific list of the allegedly synthetic ingredients in the Grisi Soap Products defeats
 11   Plaintiffs’ warranty claims and they should be dismissed. See, e.g., Gasser, 2017 WL
 12   4773426, at *7 (denying defendant’s motion to dismiss as to a warranty claim that the
 13   products were “100% natural,” but granting the motion as the unquantifiable phrases
 14   “nourish naturally with our botanical blends” and “obsessively natural kids,” as “no
 15   reasonable consumer would attribute these statements as affirmations that the products
 16   [were] all natural”) (emphasis added).
 17         Further, numerous New York courts have held that privity is required in express
 18   warranty actions where only economic loss is alleged. Therefore, Plaintiffs’ New
 19   York express warranty claim should also be dismissed because the Plaintiffs are not in
 20   privity with Midway, which simply imports and distributes the Grisi Soap Products.
 21   See, e.g., Koenig v. Boulder Brands, Inc., 995 F. Supp. 2d 274, 290 (S.D.N.Y. 2014);
 22   DiBartolo v. Abbott Labs., 914 F. Supp. 2d 601, 624-25 (S.D.N.Y. 2012).
 23         F.     Plaintiffs’ Magnuson Moss Warranty Act (Count Seven) Claim Fails
 24         Under the Magnuson Moss Warranty Act (“MMWA”), the amount in
 25   controversy of an individual claim must be greater or equal to $25.00, and the
 26   number of named plaintiffs must exceed 100. 15 U.S.C. § 2310(d)(3)(C). In
 27   addition, the MMWA applies only to products that cost more than five dollars. 15
 28   U.S.C. § 2302(e). There are only three named plaintiffs in this action and they fail to
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  1   allege that the products at issue cost more than five dollars (or that any individual
  2   claim meets or exceeds $25.00). The Court lacks jurisdiction to review this claim.
  3         Plaintiffs’ claim also fails because the allegedly misbranded products do not
  4   constitute warranties and are therefore not covered under the Act. Anderson v. Jamba
  5   Juice, Co., 888 F. Supp. 2d 1000, 1003 (N.D. Cal. 2012). Under the MMWA, a
  6   “written warranty” means a “written affirmation of fact or written promise made in
  7   connection with the sale of a consumer product by a supplier to a buyer which relates
  8   to the nature of the material . . . and affirms or promises that such material . . . is
  9   defect free or will meet a specified level of performance over a specified period of
 10   time.” 15 U.S.C. § 2301(6)(A) (emphasis added). Courts in the Ninth Circuit have
 11   consistently held that “natural” labels are “mere product descriptions” that do not
 12   constitute a written warranty under the MMWA. See, e.g., Anderson v. Jamba Juice,
 13   888 F. Supp. 2d 1000 (N.D. Cal. 2012) (“The statement ‘All Natural’ is a general
 14   product description rather than a promise that the product is defect free.”); Hairston v.
 15   South Beach Beverage Co., Inc., No. CV 12–1429–JFW (DTBx), 2012 WL 1893818,
 16   at *6 (C.D. Cal. May 18, 2012) (representations that beverage was “all natural with
 17   vitamins” “are ‘product descriptions’ rather than promises that [beverage] is defect-
 18   free, or guarantees of specific performance levels”).
 19         Here, as in Anderson and Hairston, the phrase “natural soap” is a mere product
 20   description and does not constitute a written warranty under the MMWA. Even if it
 21   did, the presence of synthetic or artificial ingredients would not constitute a “defect.”
 22   See, e.g., Larsen v. Trader Joe’s, No. C 11–05188 SI, 2012 WL 5458396, at *3 (N.D.
 23   Cal. June 14, 2012) (“The synthetic ingredients at issue were presumably knowingly
 24   and purposely added or used in the process of making these food products. As a
 25   defect primarily indicates an omission or an aberration, the deliberate use of these
 26   ingredients does not comport with the plain meaning of the word ‘defect.’”). For all
 27   of these reasons, Plaintiffs’ MMWA claims must be dismissed with prejudice.
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  1         G.     Plaintiffs’ Implied Warranty Claim (Count Nine) Fails
  2         To state an implied warranty claim under California and New York law,
  3   Plaintiffs must show (1) that they were in vertical privity with Midway; and (2) that
  4   the products “did not possess even the most basic degree of fitness for ordinary use,”
  5   i.e., for use as soap to clean the body. See, e.g., Viggiano v. Hansen Natural Corp.,
  6   944 F. Supp. 2d 877, 895-96 (C.D. Cal. 2013); Clemens v. DaimlerChryslyer Corp.,
  7   534 F.3d 1017, 1023 (9th Cir. 2008).7 A buyer and seller stand in privity if they are in
  8   “adjoining links of the distribution chain.” Clemens, 534 F.3d at 1023. An end
  9   consumer who purchases the product from the retailer is not in privity with the
 10   manufacturer (or, in this case, the middleman distributor). See id.
 11         Plaintiffs allege that they purchased the Grisi Soap Products from a retailer, and
 12   not Midway. Thus, Plaintiffs lack the vertical privity with Midway required to bring
 13   an implied warranty claim. Further, nowhere do Plaintiffs allege that the soap
 14   products they purchased were not merchantable for use as soap. Compare Viggiano,
 15   944 F. Supp. 2d at 896-97 (dismissing implied warranty of merchantability claim
 16   regarding a diet soda because plaintiff failed to allege any facts suggesting that it was
 17   not merchantable as a diet drink) with Chateau des Charmes Wines Ltd. v. Sabate
 18   USA, Inc., No. 01–cv–4203 MMC, 2005 WL 1528703, *1 (N.D. Cal. June 29, 2005)
 19   (alleging in support of a breach of implied warranty claim that “the corks damaged the
 20   smell, character and drinkability of [the wine]”). For these reasons, Plaintiffs’ implied
 21   warranty claim must be dismissed.
 22         H.     Alternatively, the Case Should be Stayed Under the Primary
                   Jurisdiction Doctrine Pending Imminent Guidance from the FDA
 23
 24         If the Court is not inclined to dismiss this action for the reasons noted above,
 25   and it should, the Court should alternatively stay the action in deference to the FDA’s
 26
      7
 27    Accord Miller v. Gen. Motors Corp., 471 N.Y.S. 2d 280, 282 (N.Y. App. Div. 1984)
      (under New York law, where only economic loss is alleged, “a cause of action does
 28   not lie against a remote [seller] for the breach of an implied warranty”).
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  1   primary jurisdiction over cosmetic labeling to consider the critical issues presented
  2   here. Plaintiffs allege in their FAC that natural products comprise a $180 billion
  3   dollar industry, yet “consumers lack the meaningful ability to test or independently
  4   ascertain or verify whether a product is natural, especially at the point of sale.” FAC
  5   ¶ 17, 23. FDA’s guidance on what constitutes “natural” will provide critical help to
  6   both manufacturers who label natural products as well as the consumers who purchase
  7   them. See H.R. Rep. No. 115-232, at 72 (July 17, 2017) (directing the FDA to
  8   “provide a report . . . on the actions and timeframe for defining ‘natural’ so that there
  9   is a uniform national standard for the labeling claims and consumers and food
 10   producers have certainty about the meaning of the term”).
 11         The primary jurisdiction doctrine applies “when there is ‘(1) the need to resolve
 12   an issue that (2) has been placed by Congress within the jurisdiction of an
 13   administrative body having regulatory authority (3) pursuant to a statute that subjects
 14   an industry or activity to a comprehensive regulatory authority that (4) requires
 15   expertise or uniformity in administration . . . .’” Astiana v. Hain Celestial Group,
 16   Inc., 783 F.3d 753, 761 (9th Cir. 2015) (quoting Syntek Semiconductor Co., Ltd., v.
 17   Microchip Tech., Inc., 307 F.3d 775, 781-82 (9th Cir. 2002)). The Ninth Circuit and
 18   district courts have determined that each of these factors is satisfied where, as here,
 19   the issue concerns litigation that turns on the use of the term “natural” on food and
 20   cosmetic labeling. See, e.g., Astiana, 783 F.3. at 761 (“On the record before it, the
 21   district court did not err in invoking primary jurisdiction. Determining what chemical
 22   compounds may be advertised as natural on cosmetic product labels is ‘a particularly
 23   complicated issue that Congress has committed to’ the FDA. See 21 C.F.R. § 700.3 et
 24   seq. Obtaining expert advice from that agency would help ensure uniformity in
 25   administration of the comprehensive regulatory regime established by the FDCA.”).
 26         Courts reticent to apply the primary jurisdiction doctrine, on the other hand,
 27   generally cite two primary concerns: that the resolution of litigation may be
 28   significantly delayed pending issuance of FDA guidance; and that, in any event, the
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  1   FDA guidance will apply only to food labeling, and not cosmetics. Neither of these
  2   arguments are persuasive here.
  3         First, while it was previously unknown when, if ever, the FDA would provide
  4   guidance on “natural” labeling, such guidance is now imminent. In November 2015,
  5   the FDA began actively reviewing the use of the term “natural” in the labeling of food
  6   products. Use of the Term “Natural” in the Labeling of Human Food Products;
  7   Request for Information and Comments 80 Fed. Reg. 69905, 69905 (Nov. 12, 2015).
  8   The comment period regarding the term has now been closed for almost two years.
  9   Docket Folder Summary, Use of the Term “Natural” in the Labeling of Human Food
 10   Products, Docket No. FDA-2014-N-1207. Congress has instructed the FDA to
 11   provide a timeframe by which it will provide guidance on the term, illustrating that
 12   Congress is monitoring the FDA on this issue and expects action to be taken sooner
 13   than later. See H.R. Rep. No. 115-232, at 72 (July 17, 2017). And significantly, in
 14   February 2018, FDA Commissioner Dr. Scott Gottlieb made the following statement:
 15         “We recognize that consumers are trusting in products labeled ‘natural’ without
 16   clarity around the term . . . .” “Consumers have called upon the [FDA] to help define
 17   the term ‘natural’ and we take the responsibility to provide this clarity seriously. We
 18   will have more to say on the issue soon.” Julie Creswell, Is it Natural? Consumers,
 19   and Lawyers, Want to Know, N.Y. Times (February 16, 2018),
 20   https://www.nytimes.com/2018/02/16/business/natural-food-products.html (emphasis
 21   added). Given the imminent forthcoming guidance on the singular issue in this case,
 22   there is no danger of a years-long delay in proceedings. Rather, according to the FDA
 23   itself, the decision is coming “soon.” That decision will help guide this court and the
 24   parties on the singular issue in this case before time and money are spent on
 25   potentially needless motion practice, expert fees, and discovery.
 26         Further, although the FDA’s regulatory review is focused on food labeling, its
 27   guidance will still be instructive to all FDA-regulated industries. Plaintiffs’ own FAC
 28   cites FDA guidance regarding food products to allege that the inclusion of calcium
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  1   carbonate in the Grisi Soap Products renders them “no longer natural.” FAC ¶ 19.
  2   Plaintiffs therefore effectively concede that FDA guidance on the issue of “natural”
  3   labeling in food products is relevant to their claims regarding the Grisi Soap Products.
  4   See Rosillo v. Annie’s Homegrown Inc., No. 17-cv-02474-JSW, 2017 WL 5256345, at
  5   *3 (N.D. Cal. Oct. 17, 2017) (“Perhaps nothing highlights this relevance more than
  6   Plaintiffs’ own amended complaint which cites the FDA’s . . . current guidance
  7   regarding the term natural to support their allegations that the Defendants’ products
  8   are not ‘natural’ and are therefore misleading.”). Thus, if the Court does not dismiss
  9   the case, it should alternatively stay the action pending imminent guidance from the
 10   FDA regarding the meaning of the term “natural” on product labeling.
 11                                      CONCLUSION
 12         For the foregoing reasons, Plaintiffs’ FAC should be dismissed with prejudice.
 13   Dated: May 7, 2018                      SIDLEY AUSTIN LLP
 14
 15                                           By: /s/ Rachael A. Rezabek
 16                                             Rachael A. Rezabek
                                                Attorneys for Defendant
 17                                             MIDWAY IMPORTING, INC.
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